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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

  BABY DOE, et al.                                      )
                                                        )
                 Plaintiffs,                            )
                                                        )
  v.                                                    )     Case No. 3:22-cv-49-NKM-JCH
                                                        )
  JOSHUA MAST, et al.                                   )
                                                        )
                 Defendants,                            )
                                                        )
  and                                                   )
                                                        )
  UNITED STATES SECRETARY OF                            )
  STATE ANTONY BLINKEN, et al.,                         )
                                                        )
                 Nominal Defendants.                    )
                                                        )


         DEFENDANTS JOSHUA AND STEPHANIE MAST’S RESPONSE IN
   OPPOSITION TO PLAINTIFFS’ MOTION TO CONTINUE SHOW CAUSE HEARING

         The Does have not shown good cause for continuing the hearing scheduled for this Friday,

  July 19, 2023, on their second motion to show cause. It was the Does who chose to file this motion

  before gathering the relevant facts; they cannot now claim that they need more time to develop the

  basis for their motion. Indeed, even since filing, the Does have conducted substantial third-party

  discovery on this issue. That discovery, including the recent deposition of Jonathan Mast, has only

  proven that their motion was ill-founded. If anything, the Does should withdraw their motion if

  they no longer believe they have the facts to support it.

         Delaying the hearing would also further burden the Masts and prolong the chilling effect

  of the Court’s ex parte protective order and the Does’ multiple show-cause motions. As the Does

  candidly acknowledge, they no longer view this matter as an “emergency” because they have
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  successfully coerced the Pipe Hitters into taking down their online statements of support for the

  Masts and pausing their fundraising efforts on the Masts’ behalf. That may be a “win” for the

  Does, but it is a concrete constitutional and financial injury for the Masts. Thus, the Court should

  not only deny the continuance and promptly resolve the show-cause motion; it should also grant

  the Masts’ pending motion to modify the protective order. See Dkt. No. 130.

  I.     Plaintiffs Have Not Shown Good Cause for Continuing the Show Cause Hearing.

         The inconvenient timing of the hearing on John and Jane Doe’s Motion to Show Cause is

  a problem entirely of their own making. The Does filed the “Emergency” Motion on June 14, 2023,

  without conferring with counsel for the Masts and based solely on their own speculation and

  conjecture. Plaintiffs cited “irreversible harm and present danger that Plaintiffs and their families

  now face” as the basis for their “Emergency” Motion, requested expedited discovery to find

  support for their serious allegations, and asked “the Court to address this matter in an expedited

  manner.” Emergency Mot. to Show Cause, Dkt. No. 231 at 4 n.3, 15. The Does’ motion prompted

  this Court to schedule the July 21 hearing.

         The Does then treated the subsequent discovery process and the July 21 hearing date as

  exigent and inflexible. They asked for documents from the Masts earlier than the federal rules

  required and noticed depositions often only a few days in advance. For example, the Does noticed

  the Pipe Hitter’s deposition scheduled for yesterday, July 18, on the night of Sunday, July 16. It

  was not until last night that the Does represented to this Court (and the Masts) that their

  “Emergency” Motion designation was “effectively eliminated” because the Pipe Hitters removed

  each of the allegedly offending photos from their websites and social media. Id. at 3. But as the

  Does have already admitted, they knew the allegedly offending “references to the Masts and Baby

  Doe” had been “removed from [the Pipe Hitter’s] website” no later than June 23 when they filed



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  their reply brief and mentioned this fact. Reply in Supp. of Mot. to Show Cause, Dkt. No. 244 at

  2.

          The Masts have argued that the Does Motion was meritless from the start, and this Court

  should have been spared unnecessary motions practice. See Opp. to Mot. to Show Cause, Dkt. No.

  239. The Does’ sudden change in urgency comes only after the Motion has been fully briefed, after

  the Does took Jonathan Mast’s deposition on July 17, and after they received more than 600 pages

  of discovery from Jonathan Mast and the Pipe Hitters. That discovery has only confirmed that the

  Masts have not violated the protective order and Jonathan Mast did not act at the behest of Joshua

  or Stephanie Mast. If the Does wished to avoid this situation, they should have adequately

  investigated the factual basis for their motion before filing it.

  II.     The Discovery Undertaken to Date Confirms that Plaintiffs’ Motion Is Meritless.

          The facts, as Plaintiffs have discovered in “emergency” litigation, have completely

  undermined the speculative basis for seeking contempt. Now, reeling from the revelation that their

  assumptions were mistaken, Plaintiffs want an indefinite delay in a hearing so they can conduct a

  fishing expedition. 1

          To the contrary, Plaintiffs must have believed they had a sufficient factual basis to show a

  protective order violation when they filed the emergency motion and fully briefed the motion.

  They confirmed as much in the Motion to Continue, stating “factual basis for the Show Cause

  Motion is amply set forth therein”, Mot. to Continue, Dkt. No. 258, at 1, the hearing should proceed




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    Plaintiffs fishing expedition was not limited to the emergency photo dispute. Counsel asked many vexatious
  questions outside the scope of the deposition notice, including about the Masts’ religious practices and Baby Doe’s
  medical health. Because the Does indicated their intention to designate at least some portions of the deposition
  transcript for confidential treatment under the protective order, the Masts are not attaching it here.


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  as scheduled. Litigants, of course, can always seek to gather more or additional evidence, but that

  does not call for indefinite delay of a hearing to resolve serious contempt allegations.

          Delay is particularly inappropriate given the extensive discovery Plaintiffs have required

  and been given. The central theory of the motion is that Joshua Mast must have coordinated and

  used his brother to provide photos of Baby Doe to the Pipe Hitters Foundation and then to conduct

  an interview on OANN. Plaintiffs have received all relevant documents and texts from (1) Jonathan

  Mast, (2) Pipe Hitters Foundation, and (3) Joshua and Stephanie Mast.

          Moreover, Plaintiffs took a more than five-hour deposition of Jonathan Mast on Monday.

  That deposition allowed them to fully vet and explore all the documents from Jonathan and the

  Pipe Hitters Foundation related to the fundraising efforts and press interview. While perhaps

  frustrating Plaintiffs desire to find evidence for their motion, the deposition readily confirmed that

  Jonathan Mast acted on his own in working with Pipe Hitters Foundation, and that he conducted

  his press interview entirely without telling Defendants Joshua or Stephanie Mast. Simply put,

  Jonathan Mast acted on his own in speaking to Pipe Hitters, providing pictures of Baby Doe and

  in conducting the OANN interview. This was not an effort by Joshua Mast to direct or control his

  brother’s actions. That a brother would endeavor to help raise litigation defense funds for family

  and be willing to talk to the press as part of that effort, is hardly surprising.

          There is no need to depose the Pipe Hitters Foundation to resolve this motion for contempt.

  Plaintiffs have offered little explanation why a deposition is necessary. They argue the grant

  agreement signed by Jonathan Mast needs to be “authenticated” and also “to learn the full extent

  of Joshua Mast’s interactions with the PHF.” First, Plaintiffs can (and did) authenticate many Pipe

  Hitters Foundation documents in their lengthy deposition of Jonathan Mast. And Defendants

  would reasonably stipulate to authentic documents, if asked. That is no reason for delay. Second,



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  as to learning Joshua Mast’s “interactions”—the Plaintiffs already have all the existing written

  documents showing Joshua’s brief interaction (including an email predating the first Motion to

  Show Cause on January 7, 2023). They also have Joshua’s expedited discovery showing any

  interactions with Pipe Hitters Foundation. A corporate 30(b)(6) deposition is unlikely to illuminate

  that issue. They already have the documents that exist. Any memory of phone calls or texts that

  are not available will be limited, or nonexistent.

             The Pipe Hitters deposition appears to be a fishing expedition for the missing evidence

  they did not find to support the emergency motion. Joshua Mast, by declaration and consistent

  with all the newly produced documents, communicated briefly with the Pipe Hitters Foundation

  in January 2023, and then again briefly in April 2023. After that time, all the documents show Pipe

  Hitters working with Jonathan, not Joshua Mast. He testified (repeatedly) to the same. What is left

  to discover? The Does don’t know. It most likely is nothing. The hearing should proceed.

  III.       The Does’ Requested Delay Would Further Prejudice the Masts and Highlights
             Why the Protective Order Must Be Amended.

             The Does are content to delay consideration of their motion now because, by their own

  admission, they have accomplished their primary objective: to shut down the Pipe Hitters’ speech

  in support of the Masts and their fundraising efforts on the Masts’ behalf. See Mot. to Continue,

  Dkt. No. 258, at 3. Meanwhile, online advocacy and fundraising efforts in support of the Does

  remains online. 2 This reality highlights the continued prejudice to the Masts of the ex parte

  protective order and delayed resolution of now two show-cause motions. The Court should not

  only deny the continuance and promptly resolve the show-cause motion; it should also grant the

  Masts’ pending motion to modify the protective order, see Dkt. No. 130, to end the infringement




  2
      See, e.g., https://www.projectanar.org/babydoe.

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  on the First Amendment rights of the Masts and third parties and to eliminate the unfair,

  asymmetrical burden on their ability to litigate.

           The Masts moved to modify the protective order more than six months ago. As the Masts

  explained there, the Does have not carried their burden for proceeding under pseudonyms,

  particularly in light of their admitted engagement with the media to generate negative stories about

  the Masts. See Dkt. No. 130, at 8–11. 3 The ex parte protective order also operates as an

  unconstitutional gag order to the extent it restricts the Masts from talking about the Does or this

  litigation. See id. at 12–13. In addition to the present show-cause motion, the Masts also continue

  to live under the specter of the Does’ prior show-cause motion, see Dkt. No. 141, which remains

  pending. This continued uncertainty favors only the Does who continue to benefit from the chilling

  effect of the ex parte protective order and their multiple show-cause motions.

           The Masts have been subjected to substantial burdens in defending against these motions.

  They also face the intolerable choice between fully exercising their parental and constitutional

  rights but risking further show-cause motions, on the one hand, or self-censoring to avoid further

  motions but thereby giving up their rights. This threat of self-censorship is precisely what the First

  Amendment protects against and constitutional a judicially cognizable constitutional injury. See,

  e.g., Menders v. Loudoun Cnty. Sch. Bd., 65 F.4th 157, 165 (4th Cir. 2023).

           The Does’ motion further illustrates the harm to the Masts by touting their success in

  chilling the Pipe Hitters’ efforts to support the Masts. See Mot. to Continue, Dkt. No. 258, at 3

  (“Soon after the PHF received Plaintiffs’ cease and desist letter, it began to remove from its website



  3
    A Virginia Circuit Court recently rejected a plaintiff’s effort to sue pseudonymously in a case where the plaintiff had
  similarly spoken to reporters for negative stories about the defendants. See B. Reinhard & I. Arnsdorf, “GOP operative
  comes forward as accuser in sexual misconduct claim against CPAC head,” THE WASHINGTON POST (Mar. 8, 2023)
  (“The . . . came forward publicly Wednesday after a judge said he must use his real name to proceed with a lawsuit.”),
  https://www.washingtonpost.com/politics/2023/03/08/matt-schlapp-cpac-accuser-sexual-misconduct/ (last visited
  July 19, 2023).

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  and social media platforms what had been posted.”). Further, as the record shows, the Pipe Hitters

  had planned to continue raising money for the Masts—who have had significant financial costs

  taking care of Baby Doe’s medical expenses and defending against the Does’ multi-front litigation

  campaign—but have stopped those efforts in response to the Does’ threats. 4 That is an

  unconstitutional chilling of the Pipe Hitters’ First Amendment rights, and one that has direct

  financial consequences for the Masts.

          It is also important to note that, compared to the Does’ first show-cause motion, their theory

  of a violation, and thus the breadth of the chilling effect of their interpretation of the ex parte

  protective order, has expanded significantly. In the first motion, the Does alleged that Joshua and

  Stephanie Mast had violated the protective order by “identifying” Baby Doe in their interactions

  with CBS News notwithstanding the intentional steps they took to protect her privacy. In this

  motion, they argue in effect that Joshua and Stephanie Mast violated the protective order by failing

  to prevent Joshua’s brother Jonathan—a non-party to this litigation—from talking about the case

  and sharing family photos that included Baby Doe. Even if the ex parte protective order clearly

  applied, that broad restriction on the speech and associational rights of the Masts, their family, and

  sympathetic third parties would not comport with the First Amendment. And that is all the more

  glaring considering that the ex parte protective order apparently does not restrict the Does from

  engaging in precisely the same sort of advocacy and fundraising for their side. That sort of “black-

  letter viewpoint discrimination” is squarely prohibited under the First Amendment. Davison v.

  Randall, 912 F.3d 666, 687 (4th Cir. 2019).

          Unless the Court is prepared to deny the show-cause motion without a hearing—which the

  Masts would fully support—it should keep the hearing for Friday and deny the Does’ motion to


  4
    See Mot. to Continue, DKT. No. 258, at 3. Jonathan Mast also confirmed his understanding in his recent deposition
  that the Pipe Hitters were withholding funds raised for the Masts while this issue plays out. See supra n.1.

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  continue so as not to unduly prolong the burdens and chilling effect of the ex parte protective order

  and the Does’ multiple show-cause motions.

                                           CONCLUSION

         For the foregoing reasons, the Court should deny the motion for an order to show cause.



         Dated: July 19, 2023                           Respectfully submitted,

                                                        /s/ John S. Moran
                                                        John S. Moran (VSB No. 84326)
                                                        Michael L. Francisco (pro hac vice)
                                                        MCGUIREWOODS LLP
                                                        888 16th St. N.W., Suite 500
                                                        Black Lives Matter Plaza
                                                        Washington, DC 20006
                                                        T: (202) 828-2817
                                                        F: (202) 828-3327
                                                        jmoran@mcguirewoods.com




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